Case 5:17-cv-00113-RWS-CMC Document 49 Filed 06/21/18 Page 1 of 3 PageID #: 310




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

  TERESA SABBIE, individually, as personal       §
  representative of the ESTATE OF MICHAEL        §
  SABBIE, and as parent and natural guardian     §
  of her minor children, T.S., T.S., and M.S.;   §
  SHANYKE NORTON, as parent and natural          §
  guardian of her minor child, M.S.;             § NO.: 5:17-cv-00113-RWS-CMC
  KIMBERLY WILLIAMS; MARCUS                      §
  SABBIE; and CHARLISA CRUMP,                    §
                                                 §
                  Plaintiffs,                    §
                                                 §
  v.                                             §
                                                 §
  SOUTHWESTERN CORRECTIONAL, LLC                 §
  d/b/a LASALLE CORRECTIONS, LLC and             §
  LASALLE SOUTHWEST CORRECTIONS;                 §
  LASALLE MANAGEMENT COMPANY,                    §
  LLC; BOWIE COUNTY, TEXAS; the CITY             §
  of TEXARKANA, ARKANSAS; TIFFANY                §
  VENABLE, LVN, individually; M. FLINT,          §
  LVN, individually; GREGORY MONTOYA,            §
  M.D., individually; CLINT BROWN,               §
  individually; NATHANIEL JOHNSON,               §
  individually; BRIAN JONES, individually;       §
  ROBERT DERRICK, individually; DANIEL           §
  HOPKINS, individually; STUART BOOZER,          §
  individually; ANDREW LOMAX,                    §
  individually; SHAWN PALMER,                    §
  individually; SIMONE NASH, individually;       §
  and JOHN and JANE DOES 1-10,                   §
                                                 §
                  Defendants.                    §

  _____________________________________________________________________________

  PLAINTIFFS’ NOTIFICATION REGARDING SERVICE OF DISCOVERY REQUESTS
  ______________________________________________________________________________


                                                 1
Case 5:17-cv-00113-RWS-CMC Document 49 Filed 06/21/18 Page 2 of 3 PageID #: 311




         Notice is hereby given that Plaintiffs have recently served the following discovery

  requests on counsel for defendants:

     •   Plaintiffs’ June 21, 2018 Requests for Admission to Corporate Defendants (served June

         21, 2018);

     •   Plaintiffs’ June 21, 2018 Interrogatory to Corporate Defendants (served June 21, 2018);

     •   Plaintiffs’ Third Written Discovery Requests (To Corporate Defendants) (served June 14,

         2018).

         DATED this 21st day of June, 2018.


         BUDGE & HEIPT, PLLC



         /s/ Edwin S. Budge
         Edwin S. Budge
         Erik J. Heipt
         705 2nd Ave., Suite 910
         Seattle, Washington 98104
         ed@budgeandheip.com
         erik@budgeandheipt.com
         Telephone: (206) 624-3060

         Attorneys for Plaintiffs




                                                 2
Case 5:17-cv-00113-RWS-CMC Document 49 Filed 06/21/18 Page 3 of 3 PageID #: 312




                                      CERTIFICATE OF SERVICE


         This is to certify that on June 21, 2018, a true and correct copy of the above and

  foregoing document was filed through the court’s CM/ECF system and thereby served upon the

  following counsel of record:

  Paul Miller
  Troy Hornsby
  Miller, James, Miller Hornsby, LLP
  1725 Galleria Oaks Drive
  Texarkana TX 75503
  paulmiller@cableone.net
  troy.hornsby@gmail.com




         DATED this 21st day of June, 2018.

                                               /s/ Edwin S. Budge
                                               Edwin S. Budge
                                               Of Budge & Heipt, PLLC
                                               705 Second Ave., Suite 910
                                               Seattle, WA 98122
                                               206-624-3060
                                               erik@budgeandheipt.com
                                               ed@budgeandheipt.com




                                                  3
